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             IN THE UNITED STATES DISTRICT COURT FOR
                    THE DISTRICT OF DELAWARE

     NINA JANKOWICZ,                         )
                                             )
                        Plaintiff,           )
                                             )
           v.                                )   C.A. No. 23-cv-513-CFC
                                             )
     FOX NEWS NETWORK, LLC, and              )
     FOX CORPORATION,                        )
                                             )
                    Defendants.              )
                                             )

                 PLAINTIFF NINA JANKOWICZ’S
             NOTICE OF SUPPLEMENTAL AUTHORITY
       IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

      Pursuant to D. Del. L.R. 7.1.2(b), and in further opposition to Defendants’

pending motion to dismiss, D.I. 29, Plaintiff Nina Jankowicz wishes to bring to the

Court’s attention the decision in Murthy v. Missouri, No. 23-411, 603 U.S. ___

(2024). The prior proceedings in this case were raised by Defendants and briefed by

both sides on the pending motion to dismiss. See D.I. 30 at 9–10, 24, 29–30, D.I. 32

at 27–28, D.I. 33 at 9–11. The Supreme Court’s decision, issued today and attached

here as Exhibit A, vacated the preliminary injunction and held that the plaintiffs in

that case lacked standing.




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Dated: June 26, 2024                 Respectfully submitted,

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